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     Attorneys for Defendant/Counterclaimant, DIGITAL GADGETS, LLC
10

11                         UNITED STATES DISTRICT COURT

12
                         CENTRAL DISTRICT OF CALIFORNIA

13
     Interworks Unlimited, Inc., a California )   Case No. 2:17-cv-4983 TJH (KSx)
     corporation,
                                              )
14                                            )   DEFENDANT’S MOTION TO
                   Plaintiff,
15                                            )   DISMISS PURSUANT TO FRCP
           v.
                                              )   12(b)(1)
16
                                              )
     Digital Gadgets, LLC., a New Jersey
17                                            )   [Memorandum of Points and
     limited liability company,
                                              )   Authorities, Declaration of Harlan
18
                                              )   Lazarus, and [Proposed] Order Filed
                          Defendant.
19                                            )   Concurrently Herewith]
     ________________________________
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                                              )
     Digital Gadgets, LLC., a New Jersey
21
     limited liability company,
                                              )   DATE: UNDER SUBMISSION
                                              )
22                                                COURTROOM: 9B
                                              )
                          Counterclaimant,
23                                            )
                    v.
                                              )
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                                              )
     Interworks Unlimited, Inc., a California
25                                            )
     corporation,
                                              )
26
                                              )
                          Counter-defendant
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                                  NOTICE OF MOTION TO DISMISS
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 1   TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that Defendant/Counterclaimant, DIGITAL
 3   GADGETS, LLC will and hereby does move this Court for an order dismissing this
 4   matter for lack of subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1) (the
 5   “Motion”).
 6         This Motion is based on this Notice of Motion, the Memorandum of Points and
 7   Authorities filed concurrently herewith, the Declaration of Harlan M. Lazarus, the
 8   papers and pleadings on file herein, and upon such other evidence and argument as may
 9   be presented prior to or at the hearing (should the Court schedule a hearing) of this
10   Motion.
11         This Motion is made following the conference of counsel pursuant to L.R. 7-3,
12   which took place by telephone on June 13, 2019. (Lazarus Decl. ¶ 6.)
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15   Dated: July 1, 2019                         LAZARUS AND LAZARUS, P.C.
16
                                                 By: /s/ Harlan M. Lazarus
17                                                   HARLAN M. LAZARUS, ESQ.
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                                                 Attorneys for Defendant/Counter-
                                                 claimant, DIGITAL GADGETS, LLC
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                                  NOTICE OF MOTION TO DISMISS
